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                   THE UNITED STATES DISTRICT COURT

                       SOUTHERN DISTRICT OF TEXAS

                              HOUSTON DIVISION

 John Locke, Benjamin Franklin            §
 Sequoia Craft-Rendon, Nicholas           §
 Cooper, Alan Foster                      §
                                          §
 PLAINTIFFS                               §   Case No.
                                          §   Jury Trial Demanded
 v.                                       §
                                          §
 The City of Houston, Texas               §
                                          §
 DEFENDANT                                §


                           ORIGINAL COMPLAINT
Plaintiffs John Locke (“Locke”), Benjamin Franklin Sequoia Craft-Rendon (“Craft-

Rendon”), Nicholas Cooper (“Cooper”), and Alan Foster (“Foster”) respectfully

submit the following Original Complaint for damages against the City of Houston,

Texas (“the City”) and show as follows:


                             I.    INTRODUCTION

1.      For over twenty-five years, members of Food Not Bombs Houston (“FNBH”)

such as Plaintiffs Locke, Craft-Rendon, Cooper, and Foster have provided free meals

to any hungry person in Houston. Its mission is in its name: FNBH shares food to

inspire the public to participate in changing society and focus our resources on
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solving problems like hunger, homelessness, and poverty while seeking an end to war

and the destruction of the environment.


2.     Plaintiffs and other members of FNBH spread this message by providing food

four times a week on public property near the Houston Central Public Library

(“Central Library”) and just across the street from City Hall. Many FNBH members

wear t-shirts that say, “Food Not Bombs” and “Poverty Isn’t a Crime.” FNBH also

displays a banner with the Food Not Bombs logo that advances the same rallying cry

as their T-Shirts, “Poverty Isn’t a Crime.” Their food sharing events are open to any

member of the public, although many who attend are unhoused or otherwise

economically vulnerable.


3.     Like many major cities, homelessness is a matter of significant public concern

to Houston residents and the City’s response to housing insecurity has generated

significant local and national attention. FNBH is widely known by Houstonians both

before and after the sudden police crackdown on their activities and its message that

“Poverty Isn’t a Crime” has resonated with people across Houston. FNBH’s message

has been so effective over its history that it has gained a substantial following and has

members ranging from children to people in their seventies.

4.     For over twenty-five years, FNBH and its members provided food without

being criminally cited or prosecuted. In 2012, the Houston City Council passed what
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is now § 20-252 and § 20-257 of the Houston City Code (together, “the Anti-Food-

Sharing Ordinance” or “the Ordinance”) prohibiting charitable food sharing on all

public property without express prior permission from the City and subjecting food

sharing events to regulations promulgated by the Houston Health Department

(“Health Department”). In reality, though, the City rarely, if ever, enforced the Anti-

Food-Sharing Ordinance and even expressly designated the Central Library as an

approved location for FNBH’s events. The City changed its policies in March of 2023

when it began citing and prosecuting FNBH’s members under the Anti-Food-Sharing

Ordinance. At the same time, the City exercised its authority under § 20-257 to adopt

burdensome and unjustified restrictions on all food sharing activities within the City.

5.     At the Direction of then-Mayor Sylvester Turner and the Houston Health

Department (“Health Department”), Houston Police Department officers began citing

FNBH members under § 20-252 on March 1, 2023, and gave them notices stating

that the only public place they could share food in the entire City of Houston is a

police station parking lot at 61 Riesner Street, Houston, Texas 77002 (“61 Riesner

Street”). The City has also posted notices in downtown Houston stating: “If you want

to conduct charitable food service on City property, you must do so at. . . 61 Riesner

Street, Houston, Texas 77002.”

6.     By its terms, § 20-252 makes it “unlawful for any organization or individual

to sponsor or conduct a food service event on public or private property without the
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advance written consent of the public or private property owner.” City of Houston

City Code § 20-252. A food service event is defined as any time “charitable food

services are provided to more than five individuals.” Id. § 20-251. “Charitable food

services” is further defined as “providing food without charge, payment or other

compensation to benefit those in need at an outdoor location not owned, leased or

controlled by the individual or organization providing the food.” Id. The Ordinance

does not define what it means for a person to be “in need.”


7.     Section 20-257 directs the Directors of the Health and Parks Departments to

establish a list of approved park and other city properties where individuals may share

food and directed the Director of the Health Department to “develop rules,

regulations, and criteria for the use of other city property.” Id. § 20-257. Section 20-

257 provides no standards guiding the Health and Parks Departments’ authority to

promulgate rules, allowing these departments to change the rules governing food

sharing whenever they want without explanation, such as limiting all food sharing on

all City property to a single location: 61 Riesner Street.

8.     61 Riesner Street is not only impractical to access for people with health and

mobility issues, but it would also change the character and visibility of FNBH events.

9.     Since March 1, 2023, members of FNBH have received nearly 100 citations,

potentially nearing a total of $200,000.00 in fines. Despite this harsh and cruel
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crackdown on charitable food sharing, during that same time, FNBH has served

thousands of meals. In conducting these events, FNBH has not only served the

hungry, but also communicated its message of community self-reliance and mutual

aid and brought awareness to the unfair treatment of homeless people.


10.     Plaintiffs, directly as a result of participating in these demonstrations and

engaging in food sharing, were charged with multiple class C misdemeanor charges,

each carrying fines of up to $2,000.00, in addition to any court costs.

11.     Hoping that the sudden crackdown on food sharing may have simply been the

ill-informed mandate of former Mayor Turner, Members of FNBH submitted a

petition on January 8, 2024 signed by over 180 organizations and 24,000 individual

signatories to Mayor John Whitmire and the entire City Council requesting that the

City cease enforcement of the Ordinance, repeal the Anti-Food-Sharing Ordinance,

and dismiss all pending citations under the Ordinance. However, in the weeks that

followed, FNBH’s members continued to receive citations. The City Attorney’s

Office even attempted to put one FNBH member on trial for violating the Ordinance,

but it could not fill a jury because too many potential jurors objected to the fine the

City was seeking.

12.     The City’s crackdown on FNBH’s food sharing violates the First Amendment

in three respects: First, the Anti-Food-Sharing Ordinance violates the First
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Amendment both on its face and as applied to Plaintiffs by imposing an invalid prior

restraint on Plaintiffs’ protected expressive conduct. Second, even if not a prior

restraint, the Anti-Food-Sharing Ordinance fails intermediate scrutiny both on its face

and as applied to Plaintiffs since it restricts Plaintiffs’ protected expressive conduct

without constitutionally adequate justification. Third, and finally, the Anti-Food-

Sharing Ordinance violates Plaintiffs’ First Amendment right to expressive

association by forcing them to associate with the Houston Police Department in a

location further away from the community they have served for decades.

13.     Despite an injunction issued on February 14, 2024 instructing the City to cease

enforcement of the Anti-Food-Sharing Ordinance, the City continues to hold

Plaintiffs’ criminal cases as pending, necessitating appearances in criminal court, as

well as preparation for criminal trials.


                       II.     JURISDICTION AND VENUE

14.     This is a civil rights action arising under 42 U.S.C. § 1983 and the First,

Fourth, and Fourteenth Amendments to the United States Constitution. This Court

has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, federal question jurisdiction.

15.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because the events

or omissions giving rise to the claim occurred in this district.
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                                   III.   PARTIES

16.      Plaintiffs John Locke, Benjamin Franklin Sequoia Craft-Rendon, Nicholas

Cooper, and Alan Foster engage in food sharing to communicate their message that

food is a human right, not a privilege, and that our society can end hunger and poverty

if we redirect our collective resources from the military and war. Consistent with the

message of the group, they share food with anyone, without restriction, to

communicate its message and exhibit what a community based on mutual aid looks

like. The Anti-Food-Sharing Ordinance infringes on the group’s ability to

communicate its message without risking citation or arrest for assembling and sharing

food on public property.

17.      Defendant City of Houston, Texas is a municipal corporation chartered under

the laws of the State of Texas. Plaintiffs challenge an Ordinance enacted by the City

of Houston and enforced by the City and its officers, employees, and agents. The City

may be served at the City Secretary’s Office at 900 Bagby, P101, Houston, Texas

77002.
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                           IV.   FACTUAL ALLEGATIONS

A.   Plaintiffs Share Food to Protest War, Poverty, and the City’s Response
to Homelessness.

18.     Since 2005, FNBH and its members such as the Plaintiffs have served free

vegan and vegetarian meals on public property near the Central Library in downtown

Houston.


19.     As their name makes clear, Food Not Bombs Houston is not charity, but

instead a political association expressing a political message that government entities

should divest money from war, policing, and weaponry, and instead redirect that

money to meet basic human needs. Thus, its food sharing events are a form of protest.

20.     FNBH and its members convey their message and vision for Houston by

sharing food four times a week near the Central Library and City Hall. FNBH’s food

sharing events are open to anyone who wants food. By serving food in a prominent

downtown location, FNBH hopes to inspire members of the public to similarly

provide mutual aid to others and ask their governments to divest from war and invest

in basic human needs.


21.     In addition to sharing food outside the Central Library, FNBH and its

members occasionally share food on other public property, such as when there are

leftovers from one of their library food sharing events or when they receive food
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donations that they distribute immediately to people instead of waiting for the next

event near the Central Library.


22.     As members of FNBH, Plaintiffs take part in organizing FNBH’s activities.

At varying intervals based on individual availability, Plaintiffs go to FNBH events

near the Central Library. They help set up food distributions, record aspects of the

events for social media, and serve food.


23.     FNBH serves vegan and vegetarian food intentionally to protest the cruel

treatment of animals and the negative environmental impact the meat industry has on

the planet.


24.     Further, Plaintiffs’ message is of prominent political importance in the City.

There are thousands of people experiencing homelessness in Houston. Newly elected

Mayor John Whitmire stated that homelessness is one of his leading agenda items

and Former Mayor Turner called homelessness one of the City’s top priorities. While

the City has taken some measures to curb the rise in housing insecurity, it has failed

to meet the needs of many hungry Houstonians. And given the large and visible

number of homeless people downtown, it is indisputable that homelessness is of

enormous public concern in Houston.


25.     Plaintiffs’ message is clear to both the broader public and the City. Broadly,

sharing food when at least 13.8% of Houstonians experience food insecurity directly
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communicates Plaintiffs’ critique of the City’s treatment of those struggling to

reliably have food. FNBH’s members frequently wear shirts at food sharing events

with “Food Not Bombs” and “Poverty Isn’t a Crime” prominently displayed on them.

FNBH also hangs a large banner at their food sharing events that says, “FOOD NOT

BOMBS” and “POVERTY ISN’T A CRIME.” Any person walking by their events

would recognize that FNBH supports feeding people, opposes war, and believes that

“poverty isn’t a crime.”


26.      FNBH’s slogan—“Poverty isn’t a crime”—reflect Plaintiffs’ belief that

Houston and other governments weaponize police and criminal law enforcement

against homeless people to get them off the streets instead of providing food, housing,

and health care.


27.      Because of the universal concern religious groups express for the homeless,

many members also share food out of a commitment to their religious principles.


28.      The City’s enforcement against members of FNBH such as the Plaintiffs show

that it recognizes FNBH’s message. In numerous citations issued to Plaintiffs and

other FNBH members, Houston Police Department officers explicitly marked “Food

Not Bombs” on the criminal complaint and described the crime as “feed homeless”

on the citations. Even now, the police reports describing Anti-Food-Sharing

Ordinance violations will identify the person receiving the citation as with Food Not
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Bombs. From the City’s perspective, then, FNBH is a clearly identifiable group with

a clearly identifiable message: provide people food instead of spending money on

bombs.


B.   The City Suddenly Begins Enforcing its Anti-Food-Sharing Ordinance
in March of 2023.

29.      After over two decades of communicating its message by sharing food

citation-free, the City began criminally citing and prosecuting FNBH members in

March of 2023. The City is prosecuting them under § 20-252 of the Houston City

Code, which prohibits food sharing without prior written consent from the City on all

public property. The text, history, and current enforcement of the Anti-Food-Sharing

Ordinance demonstrate the substantial impact it has on Plaintiffs’ ability to

communicate their message.


30.      In 2012, the City passed an ordinance adopting a slew of restrictions on

charitable food services intended to impede organizations and individuals from

providing free food to the public. First, as noted above, § 20-252 makes it “unlawful

for any organization or individual to sponsor or conduct a food service event on

public or private property without the advance written consent of the public or private

property owner.” City of Houston City Code § 20-252. A food service event is

defined as any time “charitable food services are provided to more than five

individuals.” Id. § 20-251. “Charitable food services” is further defined as “providing
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food without charge, payment or other compensation to benefit those in need at an

outdoor location not owned, leased or controlled by the individual or organization

providing the food.” Id.

31.      Second, the City adopted provisions creating a “Charitable Food Service

Program” whereby groups or individuals can join as members and receive a

certificate as a “a recognized charitable food service provider.” Id. § 20-254. The

program is entirely optional. In addition to being entirely optional, joining the

program has no effect on whether the City will grant authorization to a group to share

food on public property and individuals and groups in the program remain limited to

only serving food at 61 Riesner Street.


32.      Finally, the 2012 ordinances included a provision directing the City’s

Directors of the Health and Parks Departments to establish a list of approved park

and other city properties where individuals may share food and directed the Director

of the Health Department to “develop rules, regulations, and criteria for the use of

other city property.” Id. § 20-257. While the Ordinance delegates authority to City

agencies to develop “rules, regulations, and criteria for the use” of public property

for food service events, it contains no standards for the development of these rules

and allows these departments to change the rules whenever they want.
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33.      Pursuant to this standardless rulemaking authority, the Health Department

created new rules in 2023 concerning locations for charitable food distribution.

Specifically, approved public locations must, for the first time, have at least ten

dedicated parking spaces, adequate trash containers, and two portable bathrooms with

handwashing stations available 24 hours per day, 7 days per week.


34.      To date, the Health Department has not provided any justification for these

heavy-handed restrictions. The Anti-Food-Sharing Ordinance applies to any food

service event serving six or more people. Thus, the City is forcing all charitable

feedings on city property—regardless of where they take place, who they serve, or

how many people attend—to have ten parking spaces and bathrooms available 24/7.

One individual who wanted to share six hamburgers with six hungry people on a city

sidewalk could not do so without first setting up ten dedicated parking spaces and

two portable restrooms with handwashing stations that are open 24/7.

35.      Ironically, the City’s sole pre-approved location, 61 Riesner Street, does not

meet the City’s own regulations for charitable feeding sites as its bathrooms are

frequently locked outside of feeding hours and there are no free public parking

spaces.

36.      Crucially, and despite the regulations described above, the City and Health

Department retain complete authority to determine which, if any, public locations to
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authorize for food sharing. That is, even if a location satisfies the conditions described

above, the City and its Health Department are not required to authorize food sharing.

Instead, the Health Department’s regulations are necessary but not sufficient

requirements for getting permission to serve food on public property.


37.      Notwithstanding its unbridled authority to arbitrarily deny food sharing

privileges, the City has historically used its discretion to grant food sharing privileges.

For example, shortly after the City passed the Anti-Food-Sharing Ordinance and in

response to an immense public backlash against the law, then-Mayor Anise Parker

“designated Central Houston Public Library Plaza as an approved charitable food

service location for Food Not Bombs” in an official City advisory.1 In the same

advisory, then-Mayor Parker described eight other organizations and individuals who

had received authorization to use City-owned property for food sharing.2 This

advisory is still up on the City’s website as of January 17, 2024.

38.      From 2012 through January of 2023, FNBH conducted its food sharing events

and served tens of thousands of meals without receiving any citations.


39.      Now, more than a decade later, the City is using its unbridled authority to deny

food sharing privileges without explanation. Seemingly overnight, City employees



1
  City of Houston, Facts about Voluntary Homeless Feeding Registration Program
https://perma.cc/SPT2-5X3Z (Sept. 5, 2012) [permalink captured Oct. 5, 2023].
2
  Id.
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posted signs surrounding the Central Library stating that food sharing at or near the

library would be prohibited after February 24, 2023. According to the signs, anyone

wanting to “conduct charitable food service on City property. . . must do so at . . . 61

Riesner Street, Houston, Texas 77002.”


40.      61 Riesner Street, known locally as the “old police station,” is a Houston

Police Department administrative building outside of downtown and on the opposite

side of the 45 Freeway from the Houston Central Library. It is approximately a 20-

minute walk from FNBH’s current serving location and would require people to cross

several poorly lit intersections and roads. When charitable food service events do

occur at 61 Riesner Street, several police officers patrol the parking lot during the

entire event.


41.      The current enforcement and implementation of the Anti-Food-Sharing

Ordinance mandates that all food sharing activities on public property occur at 61

Riesner Street, regardless of how safely and orderly Plaintiffs conduct their food

sharing. This current regime for food sharing is a sharp and arbitrary break from the

City’s prior practice, both before and after the Anti-Food-Sharing Ordinance’s

passage in 2012.
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C.    The City’s Anti-Food-Sharing Ordinance Imposes Severe Restrictions
on Plaintiffs and Others.

42.      Under the City’s current enforcement regime, Plaintiffs’ only option to avoid

citations and criminal prosecution is to serve food at 61 Riesner Street. But the

parking lot of an old police station is not an adequate alternative for Plaintiffs’

protected expression.


43.      First, and most importantly, sharing food at 61 Riesner Street is directly at

odds with Plaintiffs’ message and the purpose of their association. As explained,

supra ¶¶ 16, 17, 20, 28, Plaintiffs share food to protest the City’s overinvestment in

policing and militarization and underinvestment in meeting the material needs of the

City’s most vulnerable. Forcing Plaintiffs to attempt conveying this message on

police station property irreparably alters the content of their message and association

by making it seem as though Plaintiffs are working with the City and the very Police

Department that is criminalizing its members.

44.      Further, one of the defining features of food services at 61 Riesner Street is

the presence of Houston police officers providing “security” for the entire food

service. People seeking food must first line up before the feeding to receive a meal

ticket from Houston Police Department officers. At any given feeding at 61 Riesner

Street, numerous police officers patrol the parking lot. Again, this forced association

would damage the clarity of Plaintiffs’ message and the character of their association
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as a group standing in solidarity with unhoused and poor people. As expressed clearly

on Plaintiffs’ shirts, the phrase “Poverty isn’t a crime” reflects Plaintiffs’

disagreement with the persistent use of criminal laws to harm poor people. Serving

at 61 Riesner Street forces Plaintiffs to associate with the very people they perceive

to be unjustly enforcing criminal laws against Houstonians experiencing poverty.

Without a shred of irony, the Anti-Food-Sharing Ordinance forces a group who

criticizes the police’s response to homelessness to express their message at a police

station.

45.      Second, sharing food at 61 Riesner Street would substantially minimize the

impact of Plaintiffs’ message. Plaintiffs share food on public property and in public

view of one of the most politically important areas in Houston—City Hall. Plaintiffs

share food on the doorstep of City Council and in a location where many people can

see their activities. By contrast, the parking lot of 61 Riesner Street is on the opposite

side of the 45 Freeway from central downtown Houston and has less public visibility

and traffic than the area in which FNBH has served food for nearly two decades. By

requiring all charitable food sharing to take place at a site that is less visible to

members of the public, the City is also sending the message that it wants people who

are unhoused or hungry to be less visible.

46.      But even if 61 Riesner Street were equally public, the fact that it is a police

station likely means that many people who have been coming to FNBH events for
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years would be deterred from going to a food sharing. Many people that regularly

attend FNBH events have had a variety of negative interactions with law

enforcement, whether that means being arrested, cited, or harassed without formal

legal consequences. Particularly for the unhoused individuals that attend FNBH

events, increased exposure to law enforcement at a police station would significantly

deter some from attending in the first place. Moving to 61 Riesner Street, then, would

likely reduce the number of people there to associate with, and receive the message

of, Plaintiffs.

47.      Relatedly, 61 Riesner Street is an approximately 20-minute walk away from

Plaintiffs’ current location for sharing food. While for some this may seem like a

leisurely walk, for many of the regular attendees of FNBH events, the walk from

downtown to 61 Riesner Street would prohibit their attendance. Many people who

attend FNBH events suffer from chronic medical conditions, use aids like

wheelchairs or canes to ambulate, or suffer from other disabilities that make walking

the 20 minutes under a major freeway underpass arduous or even impossible. Others

must carry all of their possessions with them at all times to ensure they do not get

stolen, making traveling this distance impracticable.


48.      In sum, the Anti-Food-Sharing Ordinance, and the City’s requirement to serve

exclusively at 61 Riesner Street, imposes severe restrictions on Plaintiffs’ protected
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activity by (1) irreparably changing the nature of their association and expression,

and (2) limiting the audience available for their protected expression.


49.      The City has given Plaintiffs and other FNBH members the untenable choice

of giving up their message or continuing to receive criminal citations. By opting not

to give up their message by moving to 61 Riesner Street, Plaintiffs have received a

combined total of over fifty of the nearly 100 criminal charges issued by the City.


50.      This has significantly harmed Plaintiffs. In addition to the financial burden of

paying the citations if found guilty, they have had to find lawyers, take time off work

and school, arrange child care, and arrange transportation in order to attend court

hearings.


51.      FNBH is also entirely volunteer-run, so it relies on volunteers and volunteer

groups who want to help out by bringing food, preparing food, or distributing it at

food sharing events.

52.      Since the enforcement of the Ordinance against them, some volunteers

stopped participating in FNBH’s food sharing events for fear of prosecution. Some

still help out in the background by preparing or bringing food, but stopped attending

FNBH’s events.


53.      Based on this enforcement history and the text of the Anti-Food-Sharing

Ordinance, Plaintiffs’ food sharing activities are arguably proscribed by the law.
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Plaintiffs imminently expect these enforcement activities to continue. As then-Mayor

Turner said in mid-December, the police would continue enforcing the Anti-Food-

Sharing Ordinance against FNBH members if they continue to serve food near the

Central Library. Continued issuance of new charges only paused when an injunction

was issued preventing further enforcement of the law, but charges still persist.


D.  The City’s Anti-Food-Sharing Ordinance Serve No Constitutionally
Adequate Purpose.

54.      According to the September 5, 2012 advisory from then-Mayor Annise

Parker, the ostensible purpose of the ordinance was to (1) “improve the quality,

quantity and distribution of food provided outdoors;” (2) “expand the opportunities

for the homeless to connect with service providers;” and (3) “reduce the

disproportionate environmental impact of food service operations.” 3 Still today, the

Health Department’s website lists these same justifications as the basis for the Anti-

Food-Sharing Ordinance.4 Former Mayor Turner also provided a fourth justification

for the City’s sudden enforcement of the formerly unused ordinance—FNBH’s food

sharing food events near the library “discourag[ed] families, children and others from

using it.”5 Reiterating this view in an email, Former Mayor Turner stated, “Chief



3
  City of Houston, Facts about Voluntary Homeless Feeding Registration Program https://perma.cc/SPT2-5X3Z
(Sept. 5, 2012) [permalink captured Oct. 5, 2023].
4
  Houston Health Department, Charitable Feeding, https://www.houstonhealth.org/services/permits/food-
permits/charitable-feeding.
5
  Sylvester Turner (@SylvesterTurner), Twitter (Aug. 4, 2023, 8:51 A.M.),
https://twitter.com/SylvesterTurner/status/1687461372022472704
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Finner we are losing the library. I am inclined to close the Central Library as a cooling

center. . . The feeding outside the library must come to an end.”6


55.      Whatever weight these supposed justifications may have in the abstract, they

fail to support the Ordinance’s vesting of unbridled discretion in city officials to

approve or disapprove public property for food sharing or the City’s selection of only

one piece of public property in a city as large as Houston as the sole location for food

sharing.


56.      But even taking the justifications individually demonstrates they fail to justify

the severe burden imposed by the Anti-Food-Sharing Ordinance.


57.      Regarding improved food distribution, the Anti-Food-Sharing Ordinance has

had the opposite effect. Prior to 2012, Houston had a coalition of food service groups

that provided food in many public locations. After 2012, and particularly after the

sudden enforcement of the Anti-Food-Sharing Ordinance in March 2023, most of

these groups have disappeared under the threat of enforcement. Instead, the City has

begun funding its preferred organization under its “Dinner to Home” program to

share food at 61 Riesner Street on the same nights and at the same time as FNBH’s

feedings. In essence, the City has monopolized food sharing by outlawing food



6
  R.A. Schuetz, Emails show Turner, Central Library strategizing to limit homeless presence, HOUS. CHRON. (Jan.
9 2024), https://www.houstonchronicle.com/news/houston-texas/housing/article/turner-emails-homeless-losing-
library-cooling-18587459.php.
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sharing in all public areas where it has traditionally permitted it, while subsidizing

certain organizations to provide food at the City’s only approved location. The end

result is less food sharing and more hungry members of the Houston community.

58.      Similarly, the City’s purported desire to connect homeless individuals with

service providers fails to justify the Anti-Food-Sharing Ordinance’s restrictions. By

reducing the approved charitable feeding locations to one parking lot in the entire

City, the City has decreased the ability of service providers to reach unhoused people

who are unwilling or unable to access 61 Riesner Street. Not only were less restrictive

means available to achieve its interest, the City actually implemented restrictions

directly contrary to its stated interests.


59.      Regarding the environmental impact of food sharing, food sharing groups can

and do bring trash bags or share near public trashcans. To the extent this issue even

exists, it is better remedied by providing trash receptacles and designating additional

food sharing locations than it is remedied by the monumental restrictions the City has

placed on food sharing.

60.      For Plaintiffs in particular, this justification makes even less sense. As

explained, Plaintiffs share exclusively vegan and vegetarian food, in part, due to the

devastating environmental impact of the meat industry. They take care at every event

to clean up after themselves and those they serve. They help curb, rather than
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contribute to, the environmental impact of the food industry by serving plant-based

food that would otherwise go to waste.


61.      Finally, former Mayor Turner’s suggestion that food sharing discourages

families, children, and others from using the library is a manufactured justification to

explain his sudden desire to punish Plaintiffs and others to the maximum extent

allowed by law. Plaintiffs serve food at 7:30 PM, an hour and a half after the Central

Library has already closed. By that time, the gate to the Central Library is already

locked. There has also been no uptick in threats or other reports due to people

receiving food near the library, as they have for over two decades.

62.      Former Mayor Turner’s comments about families being discouraged from

using the library, even if it had factual support, are much closer to giving some

residents a “heckler’s veto” over the protected expression of others. But as courts

have frequently held, a “heckler’s veto” is an unconstitutional basis to close off a

public forum. 7 In addition, the Central Library is open to the public, and the public

includes unhoused and food insecure residents in Houston.


63.      For FNBH specifically, there is also no evidence to explain the City’s sudden

change of course after ten years of serving food without enforcement of the Anti-


7
 See, e.g., Beckerman v. City of Tupelo, Miss., 664 F.2d 502, 509 (5th Cir. 1981) (“There is a host of Supreme
Court cases dealing with the issue of the ‘hecklers’ veto.’ In almost every instance it is not acceptable for the state to
prevent a speaker from exercising his constitutional rights because of the reaction to him by others.”) (collecting
cases).
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Food-Sharing Ordinance. FNBH engaged in its protected activity long before the City

ever enforced § 20-252 with no material adverse effects. Then-Mayor Parker

recognized as much shortly after passing the ordinance in 2012. Ten years later,

FNBH’s history of successful food sharing only demonstrates the lack of support for

the City’s purported justifications for enforcing the Anti-Food-Sharing Ordinance.


64.      In sum, the City’s justifications for the Anti-Food-Sharing Ordinance lack

factual support, fail to justify the specific restrictions at issue, and are even more

specious when applied to Plaintiffs’ expressive activities.

65.      On April 5, 2023, Nicholas Cooper was cited for violating the Anti-Food-

Sharing ordinance. The citation Cooper was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Cooper maintained his innocence and had to

retain legal representation to defend himself in criminal court. Cooper and his

attorneys appeared for multiple trial settings in criminal court and had his charge,

cause number N38821562, dismissed.

66.      On May 22, 2023, Benjamin Franklin Sequoia Craft-Rendon was cited for

violating the Anti-Food-Sharing ordinance. The citation Cooper was issued left him

liable for a fine of up to two thousand dollars, plus court costs. Cooper maintained

his innocence and had to retain legal representation to defend himself in criminal
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court. Craft-Rendon and his attorneys appeared for multiple trial settings in criminal

court and his charge, cause number M70984170, is still pending in criminal court.


67.      On May 24, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Craft-Rendon was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Craft-Rendon maintained his innocence and

had to retain legal representation to defend himself in criminal court. Craft-Rendon

and his attorneys appeared for multiple trial settings in criminal court and his charge,

cause number M70984175, is still pending in criminal court.

68.      On June 14, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Foster was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Foster maintained his innocence and had to retain

legal representation to defend himself in criminal court. Foster and his attorneys

appeared for multiple trial settings in criminal court and his charge, cause number

M70984196, is still pending in criminal court.

69.      On July 5, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Foster was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Foster maintained his innocence and had to retain

legal representation to defend himself in criminal court. Foster and his attorneys
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appeared for multiple trial settings in criminal court and his charge, cause number

M70984213, is still pending in criminal court.


70.      On May 24, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Foster was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Foster maintained his innocence and had to retain

legal representation to defend himself in criminal court. Foster and his attorneys

appeared for multiple trial settings in criminal court and his charge, cause number

M70984175, is still pending in criminal court.

71.      On July 19, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Foster was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Foster maintained his innocence and had to retain

legal representation to defend himself in criminal court. Foster and his attorneys

appeared for multiple trial settings in criminal court and his charge, cause number

M80012017, is still pending in criminal court.

72.      On July 26, 2023, John Locke was cited for violating the Anti-Food-Sharing

ordinance. The citation Locke was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Locke maintained his innocence and had to retain

legal representation to defend himself in criminal court. Locke and his attorneys
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appeared for multiple trial settings in criminal court and his charge, cause number

M80012020, is still pending in criminal court.


73.      On August 2, 2023, Alan Foster was cited for violating the Anti-Food-Sharing

ordinance. The citation Foster was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Foster maintained his innocence and had to retain

legal representation to defend himself in criminal court. Foster and his attorneys

appeared for multiple trial settings in criminal court and his charge, cause number

M80012025, is still pending in criminal court.

74.      On August 23, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.

75.      On September 6, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012072, is still pending in criminal court.


76.      On September 11, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012082, is still pending in criminal court.

77.      On October 4, 2023, Alan Foster was cited for violating the Anti-Food-

Sharing ordinance. The citation Foster was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Foster maintained his innocence and had to

retain legal representation to defend himself in criminal court. Foster and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012116, is still pending in criminal court.

78.      On October 11, 2023, Alan Foster was cited for violating the Anti-Food-

Sharing ordinance. The citation Foster was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Foster maintained his innocence and had to

retain legal representation to defend himself in criminal court. Foster and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012151, is still pending in criminal court.


79.      On October 16, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012164, is still pending in criminal court.

80.      On October 18, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012166, is still pending in criminal court.

81.      On October 23, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012177, is still pending in criminal court.


82.      On October 30, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012191, is still pending in criminal court.

83.      On November 1, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.

84.      On November 6, 2023, Nicholas Cooper was cited for violating the Anti-

Food-Sharing ordinance. The citation Cooper was issued left him liable for a fine of

up to two thousand dollars, plus court costs. Cooper maintained his innocence and

had to retain legal representation to defend himself in criminal court. Cooper and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M80012201, is still pending in criminal court.


85.      On November 8, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number N38559841, is still pending in criminal court.

86.      On November 13, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M81007907, is still pending in criminal court.

87.      On November 15, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.


88.      On November 27, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.

89.      On November 20, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.

90.      On November 29, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M81007909, is still pending in criminal court.


91.      On December 4, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M81007919, is still pending in criminal court.

92.      On December 6, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number unknown, is still pending in criminal court.

93.      On December 11, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919384, is still pending in criminal court.


94.      On December 13, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number N39273071, is still pending in criminal court.

95.      On December 18, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919386, is still pending in criminal court.

96.      On December 20, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919387, is still pending in criminal court.


97.      On December 27, 2023, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919403, is still pending in criminal court.

98.      On January 3, 2024, John Locke was cited for violating the Anti-Food-Sharing

ordinance. The citation Locke was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Locke maintained his innocence and had to retain

legal representation to defend himself in criminal court. Locke and his attorneys

appeared for multiple trial settings in criminal court and his charge, cause number

M70919407, is still pending in criminal court.

99.      On January 8, 2024, John Locke was cited for violating the Anti-Food-Sharing

ordinance. The citation Locke was issued left him liable for a fine of up to two

thousand dollars, plus court costs. Locke maintained his innocence and had to retain

legal representation to defend himself in criminal court. Locke and his attorneys
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appeared for multiple trial settings in criminal court and his charge, cause number

M81007980, is still pending in criminal court.


100.   On January 10, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919408, is still pending in criminal court.

101.   On January 17, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M81007993, is still pending in criminal court.

102.   On January 22, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919419, is still pending in criminal court.


103.   On January 24, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number N38554704, is still pending in criminal court.

104.   On January 29, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919420, is still pending in criminal court.

105.   On January 31, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his
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attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919421, is still pending in criminal court.


106.   On February 5, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M81008068, is still pending in criminal court.

107.   On February 7, 2024, John Locke was cited for violating the Anti-Food-

Sharing ordinance. The citation Locke was issued left him liable for a fine of up to

two thousand dollars, plus court costs. Locke maintained his innocence and had to

retain legal representation to defend himself in criminal court. Locke and his

attorneys appeared for multiple trial settings in criminal court and his charge, cause

number M70919430, is still pending in criminal court.


                          V.     CLAIMS FOR RELIEF

Count I: 42 U.S.C. § 1983 (Free Speech –Invalid Time, Place, Manner,
Restriction Facially & As Applied)

108.   All prior paragraphs are reincorporated here by reference.
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109.   Section 1983 makes Defendant liable “in an action at law, suit in equity, or

other proceeding for redress” when persons suffer a “deprivation of any rights,

privileges, or immunities secured by the Constitution” due to the City’s Anti-Food-

Sharing Ordinance. 42 U.S.C. § 1983.


110.   The First Amendment, as incorporated through the Fourteenth Amendment,

prohibits laws “abridging the freedom of speech . . . or the right of the people to

peaceably assemble.” U.S. Const. Amend. I. These rights lie at “the foundation of a

government based upon the consent of an informed citizenry.” Bates v. City of Little

Rock, 361 U.S. 516, 522–23 (1960). As such, the Constitution protects the First

Amendment “not only against heavy-handed frontal attack, but also from being

stifled by more subtle governmental interference.” Id. at 523 (collecting cases).


111.   A City or municipality can be held liable for its conduct under § 1983 if

Plaintiffs demonstrate: “(1) an ‘official policy or custom,’ (2) that ‘a policy maker

can be charged with actual or constructive knowledge,’ and (3) ‘a constitutional

violation whose ‘moving force’ is that policy (or custom).’” Moore v. LaSalle Mgmt.

Co., L.L.C., 41 F.4th 493, 509 (5th Cir. 2022) (quotation omitted). Plaintiffs challenge

an official City policy that restricts their protected expression without constitutionally

adequate justification.
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112.   On its face, the Anti-Food-Sharing Ordinance restricts expressive conduct

protected by the First Amendment. Texas v. Johnson, 491 U.S. 397, 404 (1989)

(“[The First Amendment’s] protection does not end at the spoken or written word.”).

Plaintiffs and countless others share food to convey messages such as support for

those in need and various other messages regarding poverty and homelessness.


113.   The Anti-Food-Sharing Ordinance also restricts expressive conduct protected

by the First Amendment as applied to Plaintiffs. Plaintiffs share food to protest war

and poverty, demonstrate that food is a human right, and convey their dissatisfaction

with the City’s response to homelessness. A reasonable person would interpret one

or all of these messages based on the surrounding circumstances of FNBH’s food

sharing events.


114.   Further, the City has enforced the Ordinance to prohibit food sharing on all

public property except a single police station parking lot. Many of the locations where

food sharing has traditionally occurred are places that have long been recognized as

“quintessential public forums” where “the rights of the state to limit expressive

activity are sharply circumscribed.” Perry Educ. Ass’n v. Perry Local Educators

Ass’n, 460 U.S. 37, 45 (1983).

115.   As a restriction on protected expression in traditional public forums, the City

must show the Anti-Food-Sharing Ordinance is narrowly tailored to serve a
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significant government interest and leave open ample alternative avenues for speech.

See McCullen v. Coakley, 573 U.S. 464, 486 (2014). This standard requires the City

to demonstrate a “close fit between ends and means” to prevent “sacrific[ing] speech

for efficiency.” Id. (alteration in original) (quotation omitted). The Anti-Food-

Sharing Ordinance fails to meet that standard in all respects.


116.   As explained, supra § IV.D, none of the City’s stated justifications for the ban

on food sharing pass muster. Broadly, none of the interests have any factual support

and, even if they did, they fail as “significant” interests that can justify restricting

First Amendment freedoms. They have even less force as applied to Plaintiffs who

have engaged in expressive activity arguably proscribed by the Ordinance for decades

largely without issue.


117.   Nor are the City’s four interests tailored to the Anti-Food-Sharing Ordinance.

First, the restriction has severely reduced charitable food sharing across the City

rather than help coordinate such activities. Second, the City’s interest in connecting

homeless individuals with service providers is frustrated by the City’s severe

restriction of food sharing locations. Third, the vast majority of food sharing events,

including Plaintiffs’, intentionally leave no environmental impact. Moreover, less

restrictive alternatives could satisfy this interest such as making additional locations

available with sufficient trash receptacles or providing trash receptacles to groups

seeking to share food. Fourth, and finally, the City’s interest in criminalizing food
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sharing to encourage families to come to the library is nonsensical because FNBH’s

food sharing events happen after the library has already closed its doors.


118.   At bottom, the City’s stated justifications lack constitutionally adequate

support by their own terms. But even assuming the City could justify some

hypothetical restriction on food sharing, they certainly do not justify the City’s

draconian policy that such activities can only occur at 61 Riesner Street.


119.   The Ordinance therefore violates the First Amendment on its face and as

applied to Plaintiffs by imposing an unconstitutional restriction on protected

expressive activity. Because the City has acted and threatened to act under the color

of state law to deprive Plaintiffs of rights secured by the First Amendment, Plaintiffs

may sue to seek relief under § 1983.


Count II: 42 U.S.C. § 1983 (Free Speech – Invalid Prior Restraint)

120.   All prior paragraphs are incorporated here by reference.


121.   The First Amendment, as incorporated against the States through the

Fourteenth Amendment and enforceable through 42 U.S.C. § 1983, protects

expression against unconstitutional prior restraints. “It has long been held that

ordinances regulating speech contingent on the will of an official—such as the

requirement of a license or permit . . . are unconstitutional burdens on speech

classified as prior restraints.” Chiu v. Plano Indep. Sch. Dist., 339 F.3d 273, 280 (5th
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Cir. 2003). The Anti-Food-Sharing Ordinance operates as a prior restraint by

foreclosing Plaintiffs’ expressive activity in advance and relegating all expressive

food sharing to a single public location in Houston.

122.   As a prior restraint, the Anti-Food-Sharing Ordinance must contain “narrow,

objective, and definite standards to guide the licensing authority.” Forsyth Cnty., Ga.

v. Nationalist Movement, 505 U.S. 123, 131 (1992) (quoting citing Shuttlesworth v.

City of Birmingham, Ala., 394 U.S. 147, 150–51 (1969)).

123.   Sections 20-252 and 20-257 grant unbridled discretion to the City to determine

which public properties, if any, can serve as a food sharing location. Even if a

potential food sharing location meets the “regulations” promulgated by the Health

Department—for example, providing sufficient dedicated parking places—the City

still retains the ultimate authority to authorize or deny the use of a forum for any

reason or no reason at all. Section 20-257 also provides no standards guiding the

Health and Parks Departments’ authority to promulgate rules, allowing these

departments to change the rules whenever they want without explanation. This is the

exact type of unbridled discretion the First Amendment forbids and breaks with the

City’s usual practice of mandating approval of a public forum once certain

requirements are met. Cf. Houston City Code § 25-6(a)(2) (requiring special events

officer to grant permit upon certain findings).
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124.   The Anti-Food-Sharing Ordinance, therefore, imposes an invalid prior

restraint on protected expressive activity facially and as applied to Plaintiffs. Because

the City has acted and threatened to act under the color of state law to deprive

Plaintiffs of rights secured by the First Amendment, Plaintiffs may sue to seek relief

under § 1983.


Count III: 42 U.S.C. § 1983 (Expressive Association – As Applied)

125.   All prior paragraphs are reincorporated here by reference.

126.   The Supreme Court has “long understood as implicit in the right to engage in

activities protected by the First Amendment a corresponding right to associate with

others.” Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2382 (2021)

(quotation omitted). When evaluating claims of expressive association, courts first

“determine whether the group engages in ‘expressive association,’” meaning the

group “associate[s] together . . . to ‘advanc[e] beliefs and ideas.’” Mote v. Walthall,

902 F.3d 500, 506–07 (5th Cir. 2018) (quoting Boy Scouts of Am. v. Dale, 530 U.S.

640, 648 (2000) and Abood v. Detroit Bd. of Educ., 431 U.S. 209, 233–34 (1977)).

127.   Once a restriction impinges the rights of expressive association, the restriction

must satisfy strict scrutiny, meaning the restriction must serve a “compelling state

interest that cannot be achieved through means significantly less restrictive of
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associational freedoms.” Knox v. Serv. Emps. Intl Union, Loc. 1000, 567 U.S. 298,

310 (2012) (quotation omitted).


128.   The Anti-Food-Sharing Ordinance violates these principles.


129.   First, there can be little debate Plaintiffs associate together to advance their

beliefs that our community can do more to support the economically vulnerable by

prioritizing the investment of public dollars in meeting people’s basic needs rather

than policing, militarization, and environmental destruction.

130.   Second, the Anti-Food-Sharing Ordinance seriously burdens that association

by forcing Plaintiffs to irreparably alter the character of their association. See supra

¶¶ 45, 46, 48.

131.   Third, and finally, the restriction on Plaintiffs’ expressive association fails any

level of constitutional scrutiny and certainly the strict scrutiny courts apply in cases

of compelled association. See McDonald v. Longley, 4 F.4th 229, 246 (5th Cir. 2021).

For the reasons stated previously, supra ¶¶ 68-79 (Count I), the Ordinance imposes a

restriction on Plaintiffs’ protected association without a constitutionally adequate

justification.


132.   The Anti-Food-Sharing Ordinance, therefore, imposes an unconstitutional

restriction on expressive association as applied to Plaintiffs. Because the City has
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acted and threatened to act under the color of state law to deprive Plaintiffs of rights

secured by the First Amendment, Plaintiffs may sue to seek relief under § 1983.


Count IV: 28 U.S.C. § 2201 (Declaratory Judgment)

133.      All prior paragraphs are reincorporated here by reference.


134.      Section 2201(a) provides: “In a case of actual controversy within its

jurisdiction . . . any court of the United States . . . may declare the rights and other

legal relations of any interested party seeking such declaration[.]”

135.      This case presents an actual controversy between Plaintiffs and the City of

Houston as to whether §§ 20-252 and 20-257 of the Houston City Code violate

Plaintiffs’ First Amendment rights both on its face and as applied to them. As alleged,

Plaintiffs claim the Anti-Food-Sharing Ordinance violates their First Amendment

rights.


136.      Plaintiffs seek a declaration that §§ 20-252 and 20-257 of the Houston City

Code violate the Constitution on its face and as applied to Plaintiffs.


Count V: Damages

137.      All prior paragraphs are reincorporated here by reference.

138.      Statements made by Houston Mayor Sylvester Turner as well as other City

officials demonstrate malice or deliberate indifference towards poor and/or homeless
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people, having falsely and maliciously equivocated their mere presence with a

menace to public safety. This same malice and/or deliberate indifference towards

poor and/or homeless people influenced the development of this policy and the City’s

willingness to violate First Amendment protections to make a more hostile

environment for poor and/or homeless people in and around the City of Houston.


139.   42 U.S.C. § 1983 creates a species of tort liability in favor of persons who are

deprived of rights, privileges, or immunities secured to them. When Section 1983

plaintiffs seek damages for violations of constitutional rights, the level of damages is

ordinarily determined according to principles derived from the common law of torts.

Memphis Community School Dist. v. Stachura, 477 U.S. 299 (1986). Compensatory

damages may include not only out-of-pocket loss and other monetary harms, but also

such injuries as “impairment of reputation ..., personal humiliation, and mental

anguish and suffering,” Gertz v. Robert Welch, Inc., 418 U.S. 323, 350 (1974). See

also Carey v. Piphus, supra, 435 U.S., at 264,.


140.   The purpose of punitive damages is “aimed not at compensation but

principally at retribution and deterring harmful conduct.” Exxon Shipping Co. v.

Baker, 554 U.S. 471, 492 (2008). Further, “t]he prevailing rule in American courts

also limits punitive damages to cases of what the Court . . . spoke of as “enormity,”

where a defendant's conduct is “outrageous,” owing to “gross negligence,” “willful,

wanton, and reckless indifference for the rights of others,” or behavior even more
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deplorable. Exxon Shipping Co. v. Baker, 554 U.S. 471, 493, (2008) (citing 4

Restatement (Second) of Torts § 908(2) (1977). In addition, “[p]unitive damages by

definition are not intended to compensate the injured party, but rather to punish the

tortfeasor whose wrongful action was intentional or malicious, and to deter him and

others from similar extreme conduct.” City of Newport v. Fact Concerts, Inc., 453

U.S. 247, 266–67, 101 S. Ct. 2748, 2759, 69 L. Ed. 2d 616 (1981) (citing Restatement

(Second) of Torts § 908 (1979)).


141.    The City’s deeds and words were both intentional and malicious. The

application of the law and subsequent criminal cases that resulted from these

intentional and malicious deeds and words set a dangerous legal precedent.


                          VI.   REQUESTS FOR RELIEF

Plaintiffs respectfully request the following relief:

a)      A judgment declaring §§ 20-252 and 20-257 of the Houston City Code violate

the United States Constitution under the First Amendment, as incorporated against

the states through the Fourteenth Amendment.


b)      A permanent injunction prohibiting the City of Houston and its officials,

employees, and agents from enforcing §§ 20-252 and 20-257 anywhere in the City.
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c)      A permanent injunction prohibiting the City of Houston and its officials,

employees, and agents from enforcing §§ 20-252 and 20-257 against Plaintiffs,

FNBH members, and FNBH volunteers.


d)      An award to Plaintiffs of costs and attorney’s fees; and


e)      Any other and further relief this Court deems just and proper.


Dated: March 20, 2025




Respectfully submitted,




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